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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    DONNA CURLING, ET AL.,
    Plaintiffs,
                                              Civil Action No. 1:17-CV-2989-AT
    v.

    BRAD RAFFENSPERGER, ET AL.,
    Defendants.

          ORDER TO ALLOW USE OF ELECTRONIC EQUIPMENT
                       IN THE COURTROOM

         IT IS HEREBY ORDERED that counsel of record for the Curling Plaintiffs 1

in the above-referenced case, Halsey G. Knapp, Jr., Adam Sparks, David Cross,

Mary Kaiser, Christian Andreu-von Euw, Ramsey Fisher, Matthaeus

Martino-Weinhardt, Aaron Scheinman, Benjamin Campbell; and attending

paralegals and legal support staff members: Daniella Stucchi, Lauren Brown,

Ben Winstead, Jenna Conaway, Amira Ali, and Troy Parker, be permitted to

bring the following personal electronic devices into the Richard B. Russell Federal

Building, Courtroom 2308, starting Monday, January 8, 2024, for set up and during

the remainder of the trial through January 31, 2024, before the Honorable Amy

Totenberg:

         • 17 laptop computers with power cords and computer mice


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    The Curling Plaintiffs are Donna Curling, Donna Price, and Jeffrey Schoenberg.
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      • 22 smart phones with power cords, including mobile phones with
        cameras (which may also operate as WiFi hotspots).
      • 2 tablet computers (e.g., Apple iPad, Microsoft Surface Pro) with power
        cords
      • 7 smartwatches

      • 3 Mobile hotspot MIFI devices

      • 7 USB drives

      • VGA/HDMI switches

      • 4 portable cellphone battery chargers

      • Power strips, extension cords, and computer cabling (HDMI, etc.)

      • 1 external monitor screen

      • 1 laptop docking station

      • 1 small folding table

      • 2-4 portable plastic bookshelves

      • 2 additional printers with associated cabling

      • Dominion ImageCast X (ICX) BMD (including associated charging
        devices, cords, cables, USB drives, and smart cards)
      • HP LaserJet printer (including associated cords and cables)

      • ImageCast Precinct (ICP) Scanner (including all associated charging
        devices, cords, cables, security key, and memory cards).

      IT IS FURTHER ORDERED that Anthony Barko (Curling Plaintiffs' Trial

Technician) be permitted to bring the following personal electronic devices into the

Richard B. Russell Federal Building, Courtroom 2308, starting Monday, January 8,
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2024, for set up and during the remainder of the trial through January 31, 2024,

before the Honorable Amy Totenberg:

      • 2 laptop computers with laptop power cords and computer mice

      • 2 smart phones with smartphone power cords, including mobile phones
        with cameras (which may also operate as WiFi hotspots)
      • 1 external monitor screen

      • 1 video matrix switcher

      • HDMI cables (various)

      • Adapters & power supplies (various)

      • 2 presentation clickers

      • Small technician table

      • Mobile hotspot MIFI device

      • 2 USB drives.

      IT IS FURTHER ORDERED that Dr. J. Alex Halderman and Dr. Andrew

"Drew" Springall be permitted to bring the following personal electronic devices

into the Richard B. Russell Federal Building, Courtroom 2308, starting Monday,

January 8, 2024, for set up and during the remainder of the trial through January

31, 2024, before the Honorable Amy Totenberg:

      • 2 laptop computers with power cord

      • 2 smart phones with smartphone power cords, including mobile phones
        with cameras (which may also operate as WiFi hotspots)
      • 2 smart watches.
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